245 F.2d 61
    17 Alaska 171
    Charles TUENGEL, Appellant,v.The CITY OF SITKA, ALASKA, an incorporated Alaskamunicipality, Board of National Missions of the PresbyterianChurch in the United States of America, a corporation, andSitka Community Hospital, Appellees.
    No. 15200.
    United States Court of Appeals Ninth Circuit.
    April 10, 1957.Rehearing Denied May 20, 1957.
    
      Robertson, Monagle &amp; Eastaugh, Juneau, Alaska, Charles Tuengel, Sitka, Alaska, for appellant.
      Faulkner, Banfield &amp; Boochever, Harold L. Faulkner, Juneau, Alaska, for appellee.
      Before FEE, CHAMBERS and HAMLEY, Circuit Judges.
      PER CURIAM.
    
    
      1
      This action for damages for alleged personal injuries was tried before a jury, who found for defendants and against plaintiff Tuengel.  Plaintiff then appealed.
    
    
      2
      The record shows these facts.  On November 17, 1951, Tuengel, who is a barber, called at the Sitka Community Hospital at the request of one Cresa.  The latter desired Tuengel to cut his hair.  A nurse on duty told Tuengel that Cresa's room was the third on the left, which direction, repeated by Tuengel, was correct.
    
    
      3
      Instead of knocking at the door indicated, Tuengel opened another door marked 'Basement' and fell down a well lighted stairway.
    
    
      4
      The case was fairly and impartially tried.  The verdict was in accordance with the evidence.  There is no indication that the jury ignored material evidence.  The instructions were full and correct, and none was in error.  Under the statutes of Alaska, record of conviction of Tuengel for criminal contempt for jury tampering was admissible for what effect it might be given in affecting the credibility of plaintiff.  Section 58-4-61, A.C.L.A.1949; In re Ashland, 4 Alaska 486 (Cushman, J., 1912).  No other alleged error appears to be of substance.
    
    
      5
      Affirmed.
    
    